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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF WYOMING

CUSTODIA BANK, INC.,                      )
                                          )
            Plaintiff,                    )
                                          )
v.                                        )     Civil Action No. 22-CV-00125-SWS
                                          )
FEDERAL RESERVE BOARD OF                  )
GOVERNORS and FEDERAL RESERVE             )
BANK OF KANSAS CITY,                      )
                                          )
            Defendants.                   )
______________________________________________________________________________

                             [PROPOSED] ORDER
______________________________________________________________________________


       THIS MATTER came before the Court on Plaintiff Custodia Bank, Inc.’s Unopposed

Motion for Extensions of Time to Designate Expert Witnesses. The Court, being fully advised,

finds good cause to grant the Motion.

       IT IS HEREBY ORDERED that the deadline for Plaintiff to designate expert witnesses

shall be October 20, 2023 and the deadline for Defendant the Federal Reserve Bank of Kansas City

to designate expert witnesses shall be November 20, 2023.

       DATED this _____ day of                     , 2023.


                      BY THE COURT:


                      ___________________________________________




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